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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

 

)
MARGARET MORGAN, )
Plaintiff, §
V )
' ) Case No.

CoMENITY BANK, §
Defendant. )
)
)

NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Comenity
Bank, removes this case from the Court of Comrnon Pleas of Lackawanana
County, Pennsylvania to the United States District Court for the Middle District of
Pennsj`/lvania; ln support of this Notice of Rernoval, Comenity Bank (“Comenity”)
states as folloWs:

I. BACKGROUND

l. On or about August 3, 2017, plaintiff l\/largaret Moigan (“Plaintiff”)
initiated this action by filing a complaint (the “Complaint”) against Comenity in
the Court of Common Pleas of Lackawanna County, Pennsylvania, Which Was
styled Margaret Morgan v. Comenity Bank, Case No. 17CV4259 (the “State Court

Action”).

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2. Comenity Was served With the Complaint after August 10, 2017. No
other documents have been filed in the State Court Action. Pursuant to 28 U.S.C.
§ 1446(a), Comenity has attached true and correct copies of “all process, pleadings,
and orders served” upon Comentiy in the State Court Action as Exhibit A.

3. In the Complaint, Plaintiff asserts a claim under the Telephone
Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. Plaintiff alleges that
Comentiy made calls to Plaintiff’ s cellular telephone in violation of the TCPA, and
based thereon, raises two causes of action for violation of the TCPA and invasion
of privacy. See Compl. at ‘[Hl 7-44.

II. BASIS FOR REMOVAL JURISDICTION

4. This Court has original jurisdiction under 28 U.S.C. § 1331 as
Plaintiff alleges violations of a claim or right arising under the laws of the United
States.

5. Specifically, Plaintiff alleges that Comenity made calls to Plaintiff’ s
cellular telephone in violation of the TCPA. See generally Compl.

6. Therefore, the Complaint alleges violations of a claim or right arising
under the laws ofthe United States, and as such, this action is subject to removal

pursuant to 28 U.S.C. §§ 1331 and 1441 at the request of Comenity.

 

 

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7. Because Plaintiff’ s state-law claims arise out of the same facts as
those giving rise to the claims under federal law, the Court has supplemental
jurisdiction over those claims under 28 U.S.C. § 1367.

III. VENUE

8. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a) and
1441(a), because the United States District Court for the Middle District of
Pennsylvania is the federal court embracing the Court of Common Pleas of
Lackawanna County, Pennsylvania, where Plaintiff originally filed the State Court
Action.

IV. PROCEDURAL COMPLIANCE

9. Plaintiff served Comenity by mailing a copy of the complaint to
Comenity on August 10, 2017. See EX. A.

10. This Notice is timely because it has been filed within the thirty day
period prescribed by 28 U.S.C. § 1446(b).

11. The time for Comenity to answer, move, or otherwise plead in the
State Court Action in response to the Complaint has not yet eXpired, and Comenity
has not answered, moved, or otherwise responded to the Complaint.

12. The documents attached hereto as EXhibit A constitute all of the

process, pleadings, and orders received by Comenity to date.

 

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13. Written notice of the filing of this notice of removal is being
forwarded to Plaintiff and to the Court of Common Pleas of Luzerne County,
Pennsylvania, pursuant to 28 U.S.C. § 1446(d). See Notice of Filing Notice of
Removal, attached hereto as Exhibit B.

14. By filing a Notice of Removal in this matter, Comenity does not
waive its right to object to service of process, the sufficiency of process,
jurisdiction over the person, or venue, and Comenity specifically reserves the right
to assert any defenses and/or objections to which it may be entitled.

15. Without conceding the availability of any particular remedy or
category of damages, this action involves a controversy arising under the laws of
the United States, as appears from the allegations of Plaintiff s Complaint.
Accordingly, this action is one over which this District Court has original subject
matter jurisdiction pursuant to 28 U.S.C. § 1331, and this matter may be removed
to this Court under 28 U.S.C. § 1441.

WHEREFORE, notice is given that this action is removed from the Court of
Common Pleas of Lackawanna County, Pennsylvania, to the United States District
Court for the Middle District of Pennsylvania.

Dated: Sept. 11, 2017 Respectfully submitted,
By: /s/ Martin C. Brvce
Martin C. Bryce, Jr. Esquire (Pa. ID 59409)

BALLARD SPAHR LLP
1735 Market Street, 51st Floor

 

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Philadelphia, PA 19103-7599
Telephone: (215) 665-8500
Facsimile: (215) 864-8999
bryce@ballardspahr.com

Attorneys for Defendant Comenity Bank

 

 

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of
Defendant Comenity Bank’s Notice of Removal was served by U.S. Mail, postage
prepaid, on this date upon the following:
Joseph T. Sucec
PO BoX 317
Grantham, PA 17 027

Phone: (717) 315-2359
Email: joesucec@comcast.net

l By: /s/ Martin C. Birvce
Martin C. Bryce, Jr.,

Dated: September 11, 2017

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